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                                                          --ir;r1V7r,
                  IN THE UNITED STATES DISTRICT COURT,
                                                    201 8
                  FOR THE MIDDLE DISTRICT OF ALABAMA ,
                                                             SEP 20 A 9: 35
                       NORTHERN DIVISION •             l',FP-7ZA, P. HAC!'ETT, CLK



RICKEY LETT,
                                                   cZe-cv- gjo— piq<kt/
      PLAINTIFF



V,•




BAYVIEW LOAN SERVICING,LLC.


      DEFENDANT




      Come now the Plaintiff Rickey Lett, Pursuant to Rule 1 of
the Federal Rules of Civil Procedure and Order of the Court.




                               PARTIES



      1.The Plaintiff Rickey Lett, is over the age of Nineteen
(19) years, Citizen of the United States and State of AlabAma
and reside at 1249 Sandlewood Drive Montgomery, Alabama 36117.


      2. The Defendant BayVieiti Loan Servicing LLC. P. O. Box 650091
Dallas, Texas 75265-0091.

      3. The Defendant Bayview Loan Servicing,LLC. 4425 Ponce De

Leon Blvd. 5th Floor Coral Gables,FL 33146
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                        JURISDICTION

                                                   § 1332 becase
   3. Jurisdiction is proper Pursuant to 28 U.S,C.            fi
Plaintiff and Defendant are diverse as to their citizenship and
Plaintiff demands an amount in relief $80(110011Y.'




                           VENUE
                                                           the
   Venue is proper in the United States District Court for
                                                       Defendant
  Middle District of Alabama Northern Division for the
  pursuant to 28 U.S.C.§ 1391(b).




   Racketeering: (RICO) originally, an organized conspiracy to

   commit extortion. Pub. L., 91-452 § 1,84 Stat. 922 (1970)
   the Organized Crime Control Act of 1970 (18 U.S.C. §§ 1961-68).


   Breach of Contract: a party's failure to perform some contract
   ed for or agreed-upon act, or his failure to comply with a
   duty imposed by law which is owed to another or to society.
   682 F. 2d 883,885.

   Extortion: at common law, the corrupt collection by public
   official under color of office of an excessive or unauthor-
   ized fee. Model Penal Code § 223,4 see 148 A. 2d 848,850;
   2 Mass. 522,523; 160 F 2d 754,756.

   Tort: a wrong, a private or civil wrong or injury resulting
   from a breach of a. legal duty that exists by virtue of
   society's expectations regarding interpersonal conduct,
   rather than by contract or other private relationship.256
   N.E. 2d 254,259.
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   'Breach of Duty: a failure to perform a duty owed to another

     or society; failure to exercise that care which a reason-
     able man would exercise under similar circumstances. 56 A.
     498,500.



     Breach of Promise: failure to do what one protiseS, where
     he or she has promised it. in order to induce action in

     another. The phrase is often used as shorthand for"breach

     of the   promise of marriage".


      Damages: monetary compensation which the law awards to
     one who has been injured by the action of another; re-

     compense for a legal wrong such as a Breach of Contract
     or a Tortious act.


                   STATEMENT OF THE FACTS

    1. On or about May 3, 2017 the Plaintiff Mortgage account

was transferred from CitiFinancial 1960 qadsden HWY Cedar Creek,
Plaza #116 Birmingham, Alabama 35235, to Bayview Loan Servicing

LLC. P. O. Box 650091 Dallas, Texas 75265-0091.


    2. The Disclosure Statement, Note and Security Agleement
which the Plaintiff signed with CitiFinancial Corporation LLC.

5757 Atlanta iWY Montgomery, Alabama 36117 in aa124,..4KY 18, 2006
transferred with a Annual Percentage Rate (The cost of Borrower's
credit as a yearly rate 11.75%).(A copy of the Disclosure

State, Note and Security Agreement is attached). Fed.R.Civ.P.11.
 (PRE-CLOSE LOAN OFFER SUMMARY) (real estate loan-FIXED RATE)

    3. From May 3, 2017 to:August' 31,2018 the Defendant Bayview
Loan Servicing LLC. of Dallas, Texas improperly used a different
interest rate of 11.292% With the Plaintiff's Mortgage payments
each month from May 3, 201 7 to. .
                                 Augus:
                                      .   311.2m.
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    4.The Defendant Bayview Loan Servicing LLC. of Dallas,Texas ,
possesse a duty to the Plaintiff, Rickey Lett when the DiSclosure
`StateMent, Note and Security AgreeMent had been signed with
CitiFinancial Corporation LLC. OF Montgomery, Alabama which was

11.75% in January 18, 2006.
    In Pursuant to Rule 8 (a)1,2 A demand fOr relief is sought.


    5. As a result of the Defendant's breach of duty the Plaintiff
was denied financial rights to the contract agreement which is

the Disclosure Statement, Note and Security Agreement of 11.75%
which the Plaintiff signed in January 18, 2006.

    6.As a further result the defendant breach of duty deceive
the plaintiff in paying more interest with 11.292% baeh Month

than the Disclosure Statement, Note and Security Agreement
 was agreed upon which is 11.75%.



     1 7.,As a result of the defendant breach of duty, the
  defendant willfully and intentionally fail permanently to
  abide by the Disclosure Statement, Note and Security
  Agreement that had been signed with CitiFinancial

  Corporation LLC.   a   Montgomery, Alabama on January 18 2006.

     In Pursuant to Rule 38 Right to a Jury Trial: Demand.


    8. As a result of the defendant breach of duties the
  Plaintiff suffered a pattern of illegal activity of extortion

  in his house payments from May 3, 2017 to AW,g1       31,2018-



    9. The Plaintiff has made all relevant payments timely and
  as required by the Plaintiff's contract agreement with the
  Defendant Bayview Loan Servicing LLC.
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 10. The Plaintiff suffered damages,loss of money, time
opportunity and a host of pther_losses.



                            COUNT ONE


                        Breach of Contract


  11. The Plaintiff re-alleges all prior paragraphs of the

Complaint as if set forth fully herein.

  12. The Plaintiff has a mortgage contract with the Defendant
Bayview-Loan Servicing,LLC the same_Contract from CitiFinancial.

  13. The contract specifies a 11.75% interest rate, when
from May 3, 2017 to August    31, 2018 the Defendant has charged
an interest rate of 11.292% opposed to the Mortgage agreement.

  14. The Plaintiff has SuffereddaMages, loss of money,time,
opportunity and host of other losses.


                         DEMAND FOR RELIEF
             WHEREFORE, Plaintiff seeks the following relief:
           all relief this Court deems necessary in the interest

           of justice, any other relief as may be appropriate
           including equitable relief, injunctive relief,
           compenSatOry, extraordinary, punitiVe, liquidated
           damages, fees and costs.




    DATE                                       RICKEY LETT
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                    'CERTIFICATE OF SERVICE




 I hereby certify that a copy of the foregoing has beeh

 served on the following party U.S. Postal Service
 Certified Mail prepaid on this the             th day of

6,--ri-erni=6.1'   g.

 BAYVIEW LOAN SERVICING,LLC.

 P.O. BOX 650091

 DALLAS TEXAS 75265-0091




                                  'efes 2,14

                                 RICKEY LETT

                                 1249.SANDLEWOOD DR
                                 MONTGOMERY,ALABAMA 36117
                                 334 220-7798
